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   Pointing to Prince Harry, Greg Steube Offers Bill
   for Fair Enforcement of Visa Laws




   This week, U.S. Rep. Greg Steube, R-Fla., showcased the “Substance and Possession Abuse Restrictions for Entrance
   (SPARE) Act,” which he introduced last week.


   Steube insisted his bill is “to require fair enforcement of our nation’s visa laws” and noted, “under U.S. law, visa applicants ‘who
   are found to be drug abusers or addicts are inadmissible’ as well as non-citizens who admit to using controlled substances.”


   When highlighting the bill this week, Steube pointed to a member of the British royal family as an example of why the bill was
   needed.


   “The Biden administration deliberately refuses to enforce our country’s immigration laws at the Southern border, and it appears
   they may be obstructing the fair and equal enforcement of our visa laws as well. Left-wing celebrities like Prince Harry, who have
   a self-recorded history of illegal drug use, should be subjected to the same standards and enforcement of our country’s
   immigration laws as any other alien,” said Steube. “I introduced the SPARE Act because individuals should be deported
   immediately if they are caught lying on their visa application. If the executive branch is granting waivers on the basis of drug
   usage to individuals who enter the U.S., that information should not be hidden from the public. We must ensure no one receives
   preferential treatment behind closed doors.”


   “The SPARE Act requires that within 60 days of receiving credible information of an alien knowingly providing false information
   on controlled substance violations, the DHS Secretary will be required to investigate the claim and if found true, initiate
   deportation. The legislation states anyone deported for this violation will be permanently barred from re-entering the country.
   Lastly, any controlled substance violation waivers issued by the Secretary of Homeland Security may be subject to a Freedom
   of Information Act (FOIA) request,” the congressman’s office noted.


   “Congress has a long history of prohibiting the entry of individuals who commit controlled substances violations. However, the
   executive branch has some discretionary authority to grant waivers to admit individuals who have admitted to such violations,”
   the congressman’s office added. “Prince Harry, Duke of Sussex, admitted to using cocaine, magic mushrooms, marijuana, and
   ayahuasca in his memoir, Spare. The Biden administration’s Department of Homeland Security is currently refusing to release the
   details of Prince Harry’s U.S. visa application.”                                                                                      

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   The bill was sent to the U.S. House Foreign Affairs Committee. So far, there are no co-sponsors and no companion measure
   over in the U.S. Senate.




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 Prince Harry visa row takes fresh twist as Republican demands 'SPARE'                                 -30%




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